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A 0 245B (Rev 06/05) Sheet 1 - Judgment in a C r i m i i Case


                              UNITED STA TES DISTRICT COURT
                                                    MIDDLE DISTRICT OF FLORIDA
                                                         TAMPA DMSION



UNITED STATES OF AMERICA                                        JUDGMENT IN A CRIMINAL CASE
                                                                CASE NUMBER: 8:06-cr-349-T-30MAP
                                                                USM NUMBER: 48890-018
VS.



KARLENE SMITH
                                                                Defendant's Attorney: Mark Andrew Goettel, cja.

THE DEFENDANT:

-
X pleaded guilty to count($ ONE of the Indicment.
- pleaded no10 contendere to count(s) which was accepted by the court.
- was found gullty on count(s) after a plea of not guilty.
TITLE & SECT101                       NATURE OF OFFENSE                           OFFENSE ENDED                       COUNT

                                      Conspiracy to Possess With Intent to      March 8, 2006                          One
                                      Distribute and to Distribute Five Hundred
                                      (500) Grams or More of Cocaine


        The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.

- The defendant has been found not guilty on count(s)
- Count(s) (=)(are)     dismissed on the motion of the United States

IT IS FURTHER ORDERED that the defendant must notify the United States Attorney for this district within30 days of any change
of name, residence, or mailing address until all fmes, restitution, costs, and special assessments imposed by this judgment are fully paid.
If ordered to pay restitution, the defendant must notify the court and United States Attorney of any material change in economic
circumstances.


                                                                                  Date of Imposition of Sentence: January 18,2007




                                                                                  DATE: January      /   f,  2007
A 0 245BCase   8:06-cr-00349-JSM-MAP
         (Rev 06/05) Sheet 2 - Imprisonment (JudgmentDocument       156
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        After considering the advisory sentencing guidelines and all of the factors identified in Title 18 U.S.C. 5s
3553(a)(l)-(7), the court fmds that the sentence imposed is sufficient, but not greater than necessary, to comply with
the statutory purposes of sentencing.


        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned
for a total term of SIXTY-THREE (63) MONTHS as to Count One of the Indictment,



-
X The court makes the following recommendations to the Bureau of Prisons: The defendant shall be placed at FCI Coleman
(FL), if possible.



-
X The defendant is remanded to the custody of the United States Marshal.
-The defendant shall surrender to the United States Marshal for this district.
          -at - a.m.1p.m. on -.
          -as notified by the United States Marshal.
- The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons.
          - before 2 p.m. on -.
          - as notified by the United States Marshal.
          - as notified by the Probation or Pretrial Services Office.


                                                                    RETURN

          I have executed this judgment as follows:




          Defendant delivered on                                                  to

- at                                                                             , with a certified copy of this judgment.




                                                                                         United States Marshal

                                                                        By:
                                                                                         Deputy United States Marshal
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A 0 245B (Rev. 06/05)Sheet 3 - Supervised Release (Judgment in a Criminal Case)

Defendant:         KARLENE SMITH                                                                                Judgment - Page 3of 6
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                                                         SUPERVISED RELEASE

     Upon release from imprisonment, the defendant shall be on supervised release for a term of FOUR (4)
YEARS as to Count One of the Indictment.
        The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release
from the custody of the Bureau of Prisons.

The defendant shall not commit another federal. state, or local crime. The defendant shall not unlawfully possess a controlled substance.
The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall submit to one drug test within 15 days
of release from imprisonment and at least two periodic drug tests thereafter, as determined by the court.

         The defendant shall not possess a firearm, destructive device, or any other dangerous weapon.

         The defendant shall cooperate in the collection of DNA as directed by the probation officer.


          If this judgment imposes a fine or restitution it is a condition of supervised release that the defendant pay in accordance with
          the Schedule of Payments sheet of this judgment.

          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
          conditions on the attached page.
                                           STANDARD CONDITIONS OF SUPERVISION
          the defendant shall not leave the judicial district without the permission of the court or probation officer;

          the defendant shall report to the probation officer and shall submit a truthful and complctc written report within the tirst five days of each
          month;

          the defendant shall answer truthfully all inquiries by thc probation officer and follow the instructions of the prohiltion ofticcr;

          the defendant shall support his or her dependents and mcet other family responsibilities;

          the defendant shall work regularly at a lawful occupation, unless excused by the probation ofticer for schooling, training, or other
          acceptable reasons;

          the defendant shall noti@ the probation officer at Icast tcn days prior to any change in residence or employment;

          the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, usc, distribute, or administer any controlled
          substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;

          the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;

          the defendant shall not associate with any persons cngagcd in criminal activity and shall riot associate with any person convictcd of a
          felony, unless granted permission to do so by the probation ot'ficer;

          the defendant shall permit a probation ofticer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observed in plain view of the probation ofticcr;

          the defendant shall notify the probation ofiker within scventy-two hours of being arrested or questioned by a law enforcement oflicer;

          the defendant shall not enter into any agreement to act as an informer or a spccial agent of a law enforcement agcncy without the
          permission of thc court; and

          as directed by the probation officer,the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal record
          or personal history or characteristics and shall pennit the probation ofticer to make such notitications and to contim the defendant's
          compliance with such notification requirement.
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A 0 245B (Rev. 06/05) Sheet 3C - Supervised Release (Judgment in a Criminal Case)

Defendant:        KARLENE SMITH                                                             Judgment - Page 4 of 6
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                                       SPECIAL CONDITIONS OF SUPERVISION

         The defendant shall also comply with the following additional conditions of supervised release:


-
X        The defendant shall cooperate in the collection of DNA as directed by the probation officer.

-
X        The mandatory drug testing provisions shall apply pursuant to the Violent Crime Control Act. The Court authorizes random
         drug testing not to exceed 104 tests per year.
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A 0 245B (Rev 06/05) Sheet 5 - Criminal Monetary Penalties (Judgment in a Criminal Case)

Defendant:          KARLENE SMITH                                                              Judgment - Page 5 of 6
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                                          CRIMINAL MONETARY PENALTIES

          The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.
                             Assessment                         -
                                                                Fine                           Total Restitution

          Totals:            $100.00                             Waived                        N/ A


-         The determination of restitution is deferred until        .     An Amended Judgment ilz a Criminal Case ( A 0 245C) will
          be entered after such determination.
-         The defendant must make restitution (including cornnlunity restitution) to the following payees in the amount listed
          below.
          If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless
          specified otherwise in the priority order or percentage pa ment column below. However. pursuant to 18 U.S .C. §
          3664(i). all non-federal victims must be paid before the dnlted States.


 Name of Pavee                                Total Loss*                 Restitution Ordered                 Priority or Percentage




                             Totals:          L                           L

 -        Restitution amount ordered pursuant to plea agreement $
 -        The defendant must pay interest on a fine or restitution of more than $2,500, unless the restitution or fine is paid in full
          before the fifteenth day after the date of the judgment, ursuant to 18 U.S.C. 6 3612(f). All of the payment options on Sheet
          6 may be subject to penalties for delinquency and dezult, pursuant to 18 U.S.C. $ 3612(g).
 -        The court determined that the defendant does not have the ability to pay interest and it is ordered that:
        -           the interest requirement is waived for the - fine      -    restitution.
        -           the interest requirement for the - fine - restitution is modified as follows:


* Findings for the total amount of losses are required under Chapters 109A, 110, 1IOA, and 113A of Title 18 for the offenses committed
on or after September 13, 1994, but before April 23, 1996.
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A 0 245B (Rev 06/05) Sheet 6 - Schedule of Payments (Judgment in a Criminal Case)

Defendant:        KARLENE SMITH                                                              Jud-ement - Page 6of 6
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                                                  SCHEDULE OF PAYMENTS



Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

A.       -
         X Lump sum payment of $ 100.00 due immediately. balance due
                            -not later than                    , or

                            -in accordance -C, - D, - E or - F below: or
B.       -         Payment to begin immediately (may be combined with                   C, -D, or -F below); or
C.       -        Payment in equal                  (e .g ., weekly, monthly. quarterly) installments of $              over a
                  period-of-      -  (e .g., months or years), to commence                days (e.g ., 30 or 60 days) after the
                  date of this judgment: or
D.       -         Payment in equal                (e. g ., weekly, monthly. quarterly) installments of $                over a
                   period of
                                , (e.g., months or years) to commence                       (e.g . 30 or 60 days) after release
                   from imprisonment to a term of supervision: or
E.       -       Payment during the term of supervised release will commence within                          (e.g., 30 or
                 60 days) after release from imprisonment. The court will set the payment plan based on an assessment of
         the defendant's ability to pay at that time, or
F.       -         Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise. if this judg~nentimposes imprisonment. payment of criminal monetary
penalties is due during imprisonment. All criminal monetary penalties, except those payments made through the Federal
Bureau of Prisons' Inmate Financial Responsibility Program. are made to the clerk of the court.
The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
-        Joint and Several
        Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and
Several Amount, and corresponding payee, if appropriate:


-        The defendant shall pay the cost of prosecution.
-        The defendant shall pay the following court cost(s):
-        The defendant shall forfeit the defendant's interest in the following property to the United States:
        The Court orders that the defendant forfeit to the United States immediately and voluntarily any and all assets and
property. or portions thereof. subject to forfeiture, which are in the possession or control of the defendant or the defendant's
nominees.
Payments shall be applied in the following order: ( I ) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
